Case 1:17-mc-00151-LPS           Document 1895 Filed 07/15/25        Page 1 of 2 PageID #:
                                           43555



                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF DELAWARE

                                              )
 CRYSTALLEX INTERNATIONAL                     )
 CORPORATION,                                 )
                                              )
                    Plaintiff,                )
                                              )
          v.                                  )   Case No. 1:17-mc-00151-LPS
                                              )
  BOLIVARIAN REPUBLIC OF                      )
  VENEZUELA,                                  )
                                              )
                    Defendant.                )
                                              )

                  NOTICE OF DISCOVERY SERVICE OF VITOL, INC.

         PLEASE TAKE NOTICE that on the 15th day of July 2025, a true and correct copy of

Vitol, Inc.’s Responses and Objections to CITGO Petroleum Corporation and PDV Holding,

Inc.’s First and Second Sets of Requests for Production was served via electronic mail on the

following:

Nathan P. Eimer
EIMER STAHL LLP
224 South Michigan Avenue
Suite 1100
Chicago, IL 60604
neimer@eimerstahl.com




11619084.v1
Case 1:17-mc-00151-LPS   Document 1895 Filed 07/15/25       Page 2 of 2 PageID #:
                                   43556



 July 15, 2025                  /s/ Michael W. Yurkewicz
 Wilmington, Delaware           Michael W. Yurkewicz (DE Bar No. 4165)
                                KLEHR HARRISON HARVEY BRANZBURG LLP
                                919 N. Market Street, Suite 1000
                                Wilmington, DE 19801
                                Telephone: (302) 426-1186
                                Facsimile: (302) 426-9193
                                Email: myurkewicz@klehr.com
                                -and-
                                Anna G. Rotman, P.C. (State Bar No. 24046761)
                                Grant Jones (State Bar No. 24110065)
                                Will Atnipp (State Bar No. 24138775)
                                KIRKLAND & ELLIS LLP
                                609 Main Street
                                Houston, TX 77002
                                Telephone: (713) 836-3507
                                Facsimile: (713) 836-3601
                                Email: anna.rotman@kirkland.com
                                        grant.jones@kirkland.com
                                        will.atnipp@kirkland.com

                                Attorneys for Vitol, Inc.




                                        2
11619084.v1
